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 Jon G. Shadinger Jr, Esq.
 Shadinger Law, LLC
 160 Cumberland Ave
 P.O. Box 279
 Estell Manor, NJ 08319
 (609) 319-5399
 (314) 898-0458 - Fax
 js@shadingerlaw.com

                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY
                                    CAMDEN VICINAGE

CHARLENE CHELI, an Individual,             :
                                           :
               Plaintiff,                  :
                                           :
vs.                                        :
                                           :              Case No.   1:19-cv-19025
LARRY’S II DEVELOPMENT, LLC, a New Jersey :
Limited Liability Company,                 :
                                           :
               Defendant.                  :
__________________________________________ :



                                          COMPLAINT

        Plaintiff, CHARLENE CHELI, an individual, on her behalf and on behalf of all other

 mobility impaired individuals similarly situated hereby sues the Defendant, LARRY’S II

 DEVELOPMENT, LLC, a New Jersey Limited Liability Company, (hereinafter sometimes referred

 to as "Defendant"), for injunctive relief, damages, attorney's fees, litigation expenses, and costs

 pursuant to the Americans with Disabilities Act, 42 U.S.C. §12181 et seq. ("ADA") and the New

 Jersey Law Against Discrimination, N.J.S.A. 10:5-12.

                                 COUNT I
                      VIOLATION OF TITLE III OF THE
            AMERICANS WITH DISABILITIES ACT, 42 U.S.C. § 12181, et seq.
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        1.      Plaintiff, CHARLENE CHELI, is an individual residing at 1380 Washington Avenue,

Vineland, New Jersey 08361, in the County of Cumberland.

        2.      Defendant, LARRY’S II DEVELOPMENT, LLC, holds title to the subject property

and owns or operates a place of public accommodation alleged by the Plaintiff to be operating in

violation of Title III of the ADA.

        3.      Defendant's property, also known as Vineland Commons Shopping Center, is located

at 907 North Main Road, Vineland, NJ 08360, in the County of Cumberland, ("Subject Property" or

"Vineland Commons").

        4.      Venue is properly located in the District of New Jersey because venue lies in the

judicial district of the property situs. The Defendant's property is located in and does business

within this judicial district.

        5.      Pursuant to 28 U.S.C. § 1331 and 28 U.S.C. §1343, this Court has been given

original jurisdiction over actions which arise from the Defendant's violations of Title III of the

Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. See also 28 U.S.C. § 2201 and § 2202.

        6.      Plaintiff, CHARLENE CHELI, is a New Jersey resident, is sui juris, and qualifies as

an individual with disabilities as defined by the ADA.        Plaintiff has been diagnosed with

Facioscapulohumeral Muscular Dystrophy, which has resulted in her inability to ambulate on her

own. Ms. Cheli is wheelchair bound.

        7.      Ms. Cheli has visited the property that forms the basis of this lawsuit on numerous

occasions, with the last such visit occurring in October 2019. Ms. Cheli plans to return to the

Subject Property in the very near future to avail herself of the goods and services offered to the

public at the property.

        8.      Ms. Cheli has encountered architectural barriers at the Subject Property.      The


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barriers to access at the property have endangered her safety.

          9.    Defendant owns, leases, leases to, or operates a place of public accommodation as

defined by the ADA and the regulations implementing the ADA, 28 CFR 36.201(a) and 36.104.

Defendant is responsible for complying with the obligations of the ADA. The place of public

accommodation that the Defendant owns, operates, leases or leases to is known as Vineland

Commons Shopping Center, and is located at 907 North Main Rd, Vineland, NJ 08360, in the

County of Cumberland.

          10.   Ms. Cheli has a realistic, credible, existing and continuing threat of discrimination

from the Defendant's non-compliance with the ADA with respect to this property as described but

not necessarily limited to the allegations in paragraph 13 of this complaint.

          11.   Plaintiff has reasonable grounds to believe that she will continue to be subjected to

discrimination in violation of the ADA by the Defendant. Ms. Cheli desires to visit the Subject

Property, not only to avail herself of the goods and services available at the property but to assure

herself that the Subject Property is in full compliance with the ADA; so that she and others similarly

situated will have full and equal enjoyment of the property without fear of discrimination.

          12.   The Defendant has discriminated against the individual Plaintiff and others similarly

situated by denying them access to, and full and equal enjoyment of, the goods, services, facilities,

privileges, advantages and/or accommodations of the buildings, as prohibited by 42 U.S.C. § 12182

et seq.

          13.   The Defendant has discriminated, and is continuing to discriminate, against the

Plaintiff in violation of the ADA by failing to, inter alia, have accessible facilities by January 26,

1992 (or January 26, 1993, if Defendant has 10 or fewer employees and gross receipts of $500,000

or less). A preliminary inspection of the Defendant's property, Vineland Commons Shopping


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Center, has shown that violations of the ADA exist. The following are violations that CHARLENE

CHELI has personally encountered during her visits to the Subject Property:


Parking and Exterior Accessible Route
       a.      Parking spaces designated accessible throughout Vineland Commons Shopping

Center are not maintained; contain slopes beyond limits within parking spaces/aisles and lack

compliant accessible access aisles, in violation of Sections 402 and 502 of the 2010 ADA Standards

for Accessible Design. These conditions prevent Ms. Cheli from accessing her vehicle in a safe

manner. On certain occasions she would park away from the plaza to ensure she could access her

vehicle.

       b.      Vineland Commons fails to provide the required number of compliant accessible

parking spaces, in violation of Section 502 of the 2010 ADA Standards for Accessible Design. On

certain occasions Ms. Cheli is forced to park her van away from the shopping center, in open areas,

to ensure that she can enter and exit her vehicle.

       c.      Curb ramps provided at the Subject Property, which are used to access tenant spaces,

are unsafe for wheelchair users and are not provided in some areas of the center. The curb ramps

which are provided contain excessive sloping, abrupt changes of level and lack level landings, in

violation of Sections 402 and 406 of the 2010 ADA Standards for Accessible Design. Ms. Cheli is

forced to deal with excessive sloping and a lack of maneuvering clearance at the top of the curb

ramps. These conditions present Ms. Cheli with the danger of tipping over and falling from her

wheelchair.

       d.      The exterior accessible route from accessible parking spaces at Vineland Commons

fails to provide a safe, accessible route to ramps or curb ramps, in violation of Section 402 of the

2010 ADA Standards for Accessible Design. Ms. Cheli is forced to travel through excessive slopes
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in order to access the sidewalk.

       e.         Vineland Commons provides a sidewalk that contains cross-slopes greater than 2.0%

and abrupt changes of level greater than ¼ inch, in violation of Section 402 of the 2010 ADA

Standards for Accessible Design. Ms. Cheli is forced to maneuver away from slopes and abrupt

changes of level; she is unable to travel throughout the center freely and safely.

       f.         Vineland Commons Shopping Center fails to provide an accessible route to the

adjacent street, sidewalk or bus stop, in violation of Section 206.2.1 of the 2010 ADA Standards for

Accessible Design. The lack of an accessible route to the sidewalk limits Ms. Cheli's options for

transportation.

Access to Goods and Services
       g.         Payment counters throughout Vineland Commons Shopping Center area mounted

beyond the reach of Ms. Cheli, and all those in wheelchairs, in violation of Sections 308 and 904 of

the 2010 ADA Standards for Accessible Design. Due to their elevated height, these counters are

inaccessible to Ms. Cheli.

       h.         Larry's II, Peking Chinese, and Michael's Pizza (restaurants located within Vineland

Commons Shopping Center) fail to provide accessible dining tables, in violation of Section 902 of

the 2010 ADA Standards for Accessible Design. The lack of accessible tables prevents Ms. Cheli

from dining comfortably.

       i.         While attempting to enter tenant spaces, Ms. Cheli is impeded by abrupt changes of

level at the base and improper slopes, in violation of Section 404 of the 2010 ADA Standards for

Accessible Design. Abrupt changes of level present a tipping hazard and can cause damage to Ms.

Cheli’s wheelchair.

Restrooms
       j.         Restrooms provided at Vineland Commons Shopping Center including those within
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Larry's II and Hair with Flair were reported to be unsafe for use by Ms. Cheli. Further inspection

revealed that Ms. Cheli was unable to use the restrooms safely due to a lack of accessibility.

Barriers to access include incorrect signage, inaccessible water closets which lack proper controls

and a lack of wheelchair maneuvering space, in violation of Section 601 of the 2010 ADA Standards

for Accessible Design.

       k.        Restrooms at Larry's II and Hair with Flair provide dispensers which are mounted

beyond the reach of wheelchair users and are inaccessible to Ms. Cheli, in violation of Section 308

of the 2010 ADA Standards for Accessible Design.

       l.        Lavatories located within Larry's II and Hair with Flair lack the proper knee clearance

and accessibility preventing the plaintiff from freely accessing the lavatory, in violation of Section

606 the 2010 ADA Standards for Accessible Design. Due to this barrier Ms. Cheli is unable to wash

her hands before exiting the restroom.

       m.        Larry's II and Hair with Flair provide restrooms that contain improper centerlines for

the water closets, in violation of Section 604 of the 2010 ADA Standards for Accessible Design.

Ms. Cheli is unable to properly access the water closets due to their improper location in relation to

fixed objects.

       n.        The using of restrooms doors at Larry's II and Hair with Flair is impeded by improper

signage and a lack of maneuvering clearance, in violation of Section 404 of the 2010 ADA

Standards for Accessible Design. The presence of incorrect signage and a lack of maneuvering

space impede Ms. Cheli from easily accessing restroom doors.


       14.       Each of the foregoing violations is also a violation of the 1991 American with

Disabilities Act Accessibility Guidelines (ADAAG) and the 2010 Standards for Accessible Design,

as promulgated by the U.S. Department of Justice.
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       15.     The discriminatory violations described in paragraph 13 are not an exhaustive list of

the ADA violations that exist at Defendant's property but are the result of a preliminary inspection.

Plaintiff requires thorough inspection of the Defendant's place of public accommodation in order to

photograph and measure the architectural barriers which exist at the Subject Property and violate the

ADA. The individual Plaintiff, and all other individuals similarly situated, have been denied access

to, and have been denied the benefits of services, programs and activities of the Defendant's

buildings and its facilities, and have otherwise been discriminated against and damaged by the

Defendant because of the Defendant's ADA violations, as set forth above. The individual Plaintiff

and all others similarly situated will continue to suffer such discrimination, injury and damage

without the immediate relief provided by the ADA as requested herein. In order to remedy this

discriminatory situation, the Plaintiff requires an inspection of the Defendant's place of public

accommodation in order to determine all of the areas of non-compliance with the ADA.

       16.     Defendant has discriminated against the Plaintiff by denying him access to full and

equal enjoyment of the goods, services, facilities, privileges, advantages and/or accommodations of

its place of public accommodation or commercial facility in violation of 42 U.S.C. § 12181 et seq.

and 28 CFR 36.302 et seq. Furthermore, the Defendant continues to discriminate against the

Plaintiff and all those similarly situated by failing to make reasonable modifications in policies,

practices or procedures, when such modifications are necessary to afford all offered goods, services,

facilities, privileges, advantages or accommodations to individuals with disabilities; and by failing to

take such efforts that may be necessary to ensure that no individual with a disability is excluded,

denied services, segregated or otherwise treated differently than other individuals because of the

absence of auxiliary aids and services.

       17.     Plaintiff is without adequate remedy at law and is suffering irreparable harm.


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Considering the balance of hardships between the Plaintiff and the Defendant, a remedy in equity is

warranted. Furthermore, the public interest would not be disserved by a permanent injunction.

       18.     Plaintiff has retained the undersigned counsel and is entitled to recover attorney's

fees, costs and litigation expenses from the Defendant pursuant to 42 U.S.C. § 12205 and 28 CFR

36.505.

       19.     Defendant is required to remove the existing architectural barriers to the physically

disabled when such removal is readily achievable for its place of public accommodation that have

existed prior to January 26, 1992, 28 CFR 36.304(a); in the alternative, if there has been an

alteration to Defendant's place of public accommodation since January 26, 1992, then the Defendant

is required to ensure – to the maximum extent feasible – that the altered portions of the facility are

readily accessible to and useable by individuals with disabilities, including individuals who use

wheelchairs, 28 CFR 36.402; and finally, if the Defendant's facility is one which was designed and

constructed for first occupancy subsequent to January 26, 1993, as defined in 28 CFR 36.401, then

the Defendant's facility must be readily accessible to and useable by individuals with disabilities as

defined by the ADA.

       20.     Notice to Defendant is not required as a result of the Defendant's failure to cure the

violations by January 26, 1992 (or January 26, 1993, if Defendant has 10 or fewer employees and

gross receipts of $500,000 or less). All other conditions precedent have been met by Plaintiff or

waived by the Defendant.

       21.     Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant Plaintiff

Injunctive Relief, including an order to require the Defendant to alter Vineland Commons Shopping

Center and make the Subject Property readily accessible and useable to the Plaintiff and all other

persons with disabilities as defined by the ADA; or by closing the Subject Property until such time


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as the Defendant cures its violations of the ADA.

WHEREFORE, Plaintiff respectfully requests:

        a.      The Court issue a Declaratory Judgment that determines that the Defendant at the

    commencement of the subject lawsuit is in violation of Title III of the Americans with

    Disabilities Act, 42 U.S.C. § 12181 et seq.

        b.      Injunctive relief against the Defendant including an order to make all readily

    achievable alterations to the facility; or to make such facility readily accessible to and usable by

    individuals with disabilities to the extent required by the ADA; and to require the Defendant to

    make reasonable modifications in policies, practices or procedures, when such modifications are

    necessary to afford all offered goods, services, facilities, privileges, advantages or

    accommodations to individuals with disabilities; and by failing to take such steps that may be

    necessary to ensure that no individual with a disability is excluded, denied services, segregated

    or otherwise treated differently than other individuals because of the absence of auxiliary aids

    and services.

        c.      An award of attorney's fees, costs and litigation expenses pursuant to 42 U.S.C.

    § 12205.

        d.      Such other relief as the Court deems just and proper, and/or is allowable under

    Title III of the Americans with Disabilities Act.

                                   COUNT II
             VIOLATION OF NEW JERSEY LAW AGAINST DISCRIMINATION
                                (N.J.S.A. 10:5-12)

       22.      Plaintiff re-alleges and incorporates by reference all allegations set forth in this

Complaint as fully set forth herein.

       23.      Defendant's facility is a place of public accommodation as defined by N.J.S.A 10:5-5,


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(New Jersey Law Against Discrimination).

       24.     New Jersey law provides that all persons shall have the opportunity to obtain all the

accommodations, advantages, facilities, and privileges of any public place of accommodation

without discrimination on the basis of disability. This opportunity is recognized and declared to be a

civil right (N.J.S.A. 10:5-4.)

       25.     As set forth above, Defendant has violated the New Jersey Law Against

Discrimination by denying disabled individuals the full and equal enjoyment of the goods, facilities,

services and accommodations available at the Vineland Commons Shopping Center.

       26.     As a result of the aforementioned discrimination, Plaintiff, CHARLENE CHELI has

sustained emotional distress, mental anguish, suffering and humiliation, and other injuries, in

violation of the New Jersey Law Against Discrimination.

WHEREFORE, Plaintiff, CHARLENE CHELI respectfully demands judgment for damages,

attorney's fees, litigation expenses, including expert fees and costs pursuant to the New Jersey Law

Against Discrimination.

                                               Respectfully submitted,


        October 16, 2019
Dated:_____________________                     /s/ Jon G. Shadinger Jr.
                                               __________________________
                                               Jon G. Shadinger Jr., Esq.
                                               Shadinger Law, LLC
                                               NJ Attorney ID No. 036232017
                                               160 Cumberland Ave
                                               P.O. Box 279
                                               Estell Manor, NJ 08319
                                               (609) 319-5399
                                               (314) 898-0458 - Fax
                                               js@shadingerlaw.com
                                               Attorney for Plaintiff




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